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                                    09:09                     95%1     ),


        <                  Heidi Brown

    ;   i

                   Appel vocal manque
                   Appuyez pour rappel.er , i
                  •• , ,      • •        03:10    ;



            ~      Appelvocal manque     , ·..,
                   Appuyez pour rappeler : •


                                                      .,

   :.                  .• Heidi, I asked by email before the
                          weekend to set up proper times
                          .for me to speak-with the girls
                          over the weekend on Facetime
                      \ directly without any supervision
                 · · ,; from your part and at decent
                           hours French time .•·•.    09:06 ✓


                            •... I'm sad to see that you td~d ,
                           •; again to call me in the middle of
                            , the night at 3.10am knowing •
                ·. . ,. ·• • obviously that I would b.e asleep
                                 and it shows your clear efforts at
                                 trying.to·prevent any .
                                 communication between me and •
                                 the girl...                09:09 ✓




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